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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

THE STATE OF GEORGIA,                )
                                     )
                   Plaintiff,        )      Civil Action No. 1:23-cv-03621-SCJ
                                     )
            v.                       )
                                     )
MARK RANDALL MEADOWS,                )
                                     )
                   Defendant.        )
                                     )


      PLAINTIFF’S CERTIFICATION OF SERVICE OF SUBPOENA

      In accordance with the requirements of Fed. R. Civ. P. 45 and LR 5.4,

NDGa., counsel for Plaintiff the State of Georgia hereby notifies Defendant Mark

Randall Meadows that a subpoena was served by hand delivery upon Frances

Watson on Thursday, August 24, 2023. A true and correct copy of the subpoena is

attached hereto.

      Respectfully submitted this 24th day of August 2023.

                                     FANI T. WILLIS
                                     District Attorney
                                     Atlanta Judicial Circuit

                                     /s/ John W. “Will” Wooten
                                     JOHN W. “WILL” WOOTEN
                                     GA Bar Number 410684
                                     Deputy District Attorney
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                           Fulton County District Attorney’s Office
                           136 Pryor Street SW
                           3rd Floor
                           Atlanta, GA 30303
                           (404) 612-6560
                           will.wooten@fultoncountyga.gov




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                      CERTIFICATE OF COMPLIANCE

      I certify that the document to which this certificate is attached has been

prepared with one of the font and point selections approved by the Court in LR

5.1B for documents prepared by computer.

      This 24th day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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                         CERTIFICATE OF SERVICE

      I served this document today by filing it using the Court’s CM/ECF system,

which automatically notifies the parties and counsel of record.

      This 24th day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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